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06
                              UNITED STATES DISTRICT COURT
07                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
08
     UNITED STATES OF AMERICA,                      )
09                                                  )
            Plaintiff,                              )
10                                                  )   Case No. CR08-144-JLR
            v.                                      )
11                                                  )
   JESUS OROZCO-CARRAZCO                            )   DETENTION ORDER
12 a/k/a Chuy,                                      )
                                                    )
13         Defendant.                               )
     ____________________________________
14
     Offenses charged:
15
            Count 1:       Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. §§
16                         841(a)(1), 841(b)(1)(A), and 846.
17 Date of Detention Hearing:      May 2, 2008
18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

23 is a flight risk and a danger to the community based on the nature of the pending charges.

24 Application of the presumption is appropriate in this case.

25          (2)     An immigration detainer has been placed on defendant by the United States

26 Immigration and Customs Enforcement.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)     Defendant has stipulated to detention, but reserves the right to contest his
02 continued detention if there is a change in circumstances.

03          (4)     There are no conditions or combination of conditions other than detention that will
04 reasonably assure the appearance of defendant as required.

05          IT IS THEREFORE ORDERED:
06          (1)     Defendant shall be detained pending trial and committed to the custody of the
07 Attorney General for confinement in a correctional facility separate, to the extent practicable, from

08 persons awaiting or serving sentences or being held in custody pending appeal;

09          (2)     Defendant shall be afforded reasonable opportunity for private consultation with
10 counsel;

11          (3)     On order of a court of the United States or on request of an attorney for the
12 government, the person in charge of the corrections facility in which defendant is confined shall

13 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

14 with a court proceeding; and

15          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18                  DATED this 2nd day of May, 2008.
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                                                            A
                                                            JAMES P. DONOHUE
21                                                          United States Magistrate Judge

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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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